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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

DISCOVER PROPERTY & CASUALTY                     §
COMPANY and                                      §
THE TRAVELERS INDEMNITY COMPANY                  §
OF CONNECTICUT,                                  §
                                                 §
               Plaintiffs/Counter-Defendants,    §
                                                 §
v.                                               §                  1:21-CV-487-RP
                                                 §
BLUE BELL CREAMERIES USA, INC.;                  §
BLUE BELL CREAMERIES, L.P.;                      §
BLUE BELL CREAMERIES, INC.;                      §
JOHN W. BARNHILL, JR.;                           §
GREG A. BRIDGES; RICHARD DICKSON;                §
PAUL A. EHLERT; JIM E. KRUSE;                    §
PAUL W. KRUSE; W.J. RANKIN;                      §
HOWARD W. KRUSE; PATRICIA I. RYAN;               §
DOROTHY MCCLEOD MACINERNEY,                      §
                                                 §
               Defendants/Counter-Plaintiffs.    §

                                     FINAL JUDGMENT

       On this date, the Court issued an order granting Plaintiffs’ motion for summary judgment

and denying Defendants’ motion for summary judgment. As nothing remains to resolve, the Court

renders Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that the case is CLOSED.

       IT IS FURTHER ORDERED that any motion for attorney’s fees and bill of costs shall

be filed no later than September 6, 2022.

       SIGNED on August 22, 2022.




                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE
